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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Case No.

v.
Filed Under Seal

DAVID JOSEPH GIETZEN,
Defendant.
ORDER

This matter having come before the Court pursuant to the motion of the United States to
seal the indictment and related documents in this case and delay entry of this criminal case on the
public docket until the arrest warrant for the defendant is executed, and because of such reasonable
grounds to believe the disclosure of the documents to be sealed will result in serious jeopardy to
the investigation and flight from prosecution, the United States has established that a compelling

- interest exists to justify the requested sealing.. Accordingly, the motion is GRANTED, and it is
hereby

ORDERED that the indictment, the motion to seal and proposed order, and this order are
sealed, and the Clerk is directed to delay entry of this criminal case on the public docket until the
arrest warrant for the defendant, DAVID JOSEPH GIETZEN, is executed, at which time the
indictment and related documents shall be unsealed by operation of this order and may be publicly

shared by the government.

Date: April 1, 2022

_” G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE
